    Case 21-70459       Doc 9-1 Filed 08/27/21         Entered 08/27/21 13:44:39   Desc
                            certificate of service     Page 1 of 1



                         UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF ILLINOIS


IN RE: CURTIS HOBSON &                     )         Case No. 21-70459
       KATHLEEN PFEIFER                    )
                      Debtors              )         Chapter 7




                                CERTIFICATE OF SERVICE
       I hereby certify that on August 27, 2021, a copy of the Amended Schedule E/F and

Notice of Chapter 7 Bankruptcy Case was served by regular United States mail to all interested

parties listed below.


Sedgwick
PO Box 932906
Cleveland, OH 44193
And served electronically on:
U.S. Trustee
Chapter 7 Trustee, Jeffery Richardson

                                           /s/ John L. GreenLeaf
                                              John L. GreenLeaf



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